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                                                             U.S. Department of Justice

                                                             United States Attorney
                                                             District of New Jersey
___________________________________________________________________________________________________________________________

                                                             970 Broad Street, 7th floor                       973-645-2700
                                                             Newark, New Jersey 07102




                                                             March 28, 2024
Via Email and ECF
The Honorable Michael E. Farbiarz
United States District Judge
Frank Lautenberg Post Office & U.S. Courthouse
2 Federal Square
Newark, New Jersey 07102


                 Re:      United States v. Michael Healy
                          Crim. No. 18-703 (MEF)

Dear Judge Farbiarz:

       The Government writes to update the Court that after a review of the
exhibits that have been moved into evidence the Government neglected to formally
enter into evidence Mr. Healy’s EZ pass records, Government Ex. 178, during the
testimony of Special Agent Frederick yesterday. Though a proper foundation was
laid (TT 2357-2358), and a summary chart of the records was entered into evidence
(Government Exhibit 701), the underlying records were mistakenly not entered.

       I have consulted with Mr. Turano and referred him to the relevant pages of
the transcript. On behalf of Mr. Healy, Mr. Turano has no objection to the
Government entering Government Exhibit 178 into evidence before the Government
rests its case on Monday without the need to recall Special Agent Frederick.


                                                             Very truly yours,

                                                             PHILIP R. SELLINGER
                                                             United States Attorney

                                                             s/ Robert Frazer
      3/28/24                                                _______________________________
                                                   By:       ROBERT FRAZER
                                                             SAMANTHA C. FASANELLO
                                                             Assistant U.S. Attorneys
